

Matter of Cheheli v Metropolitan Tr. Auth. (2023 NY Slip Op 05680)





Matter of Cheheli v Metropolitan Tr. Auth.


2023 NY Slip Op 05680


Decided on November 14, 2023


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: November 14, 2023

Before: Kapnick, J.P., Singh, Moulton, Shulman, Rosado, JJ. 


Index No. 156433/20 Appeal No. 992-993 Case No. 2020-04121 2020-04122 

[*1]In the Matter of Haddi Cheheli, Petitioner-Respondent,
vMetropolitan Transit Authority, et al., Respondents-Appellants. 


Armienti, DeBellis &amp; Rhoden, LLP, New York (Vanessa M. Corchia of counsel), for appellants.



Appeal from order, Supreme Court, New York County (Arthur F. Engoron, J.), entered October 1, 2020, which granted petitioner's CPLR 3102(c) motion seeking pre-action disclosure of video recordings, unanimously dismissed, without costs, as moot. Appeal from order, same court and Justice, entered October 14, 2020, which, sua sponte, extended the date of production and directed respondents to submit an affidavit regarding their search, unanimously dismissed, without costs, as taken from a nonappealable order.
Since respondents have already turned over the onboard bus camera video recordings petitioner seeks in the instant application, and petitioner has already filed a summons and complaint based on his alleged fall in Supreme Court, Queens County, this appeal is moot (see Scaba v Scaba, 99 AD3d 610, 611 [1st Dept 2012]; see generally City of New York v Maul, 14 NY3d 499, 507 [2010]). Respondents' arguments to the contrary are unavailing, as the pre-action disclosure application at issue here, though likely to recur, is not likely to evade review and is neither substantial nor novel (see Matter of Puerto v Doar, 142 AD3d 34, 44 [1st Dept 2016], citing Matter of Chenier v Richard W., 82 NY2d 830, 832 [1993]).
The sua sponte order is not appealable as of right (see Unanue v Rennert, 39 AD3d 289, 290 [1st Dept 2007]).THIS CONSTITUTES THE DECISION AND ORDER
OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: November 14, 2023








